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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address


     PAUL J. LEEDS, ESQ. (Bar No. 214309)
     pleeds@fsl.law
     MEREDITH KING, ESQ. (Bar No. 280043)
     mking@fsl.law
     FRANKLIN SOTO LEEDS LLP
     444 WEST C STREET, SUITE 300
     SAN DIEGO, CA 92101
     TEL: 619.872.2520
     FAX: 619.566.0221



         Individual appearing without attorney
         Attorney for Defendant Gallant Law Group, PC and
    Center Pointe Law, PC

                                            UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

    In re:
                                                                                CASE NO.: 8:23-bk- 10571-SC
    THE LITIGATION PRACTICE GROUP, PC                                           CHAPTER: 11
                                                                                ADVERSARY NO.: 8:23-ap-01046-SC
                                                                 Debtor(s).


    RICHARD A. MARSHACK, Chapter 11 Trustee,

                                                                Plaintiff(s),   NOTICE OF LODGMENT OF ORDER OR
                                      vs.                                       JUDGMENT IN ADVERSARY PROCEEDING
                                                                                RE: (title of motion1):
    TONY DIAB, et al.,                                                          STIPULATION TO EXTEND TIME TO RESPOND TO
                                                                                AMENDED COMPLAINT
                                                               Defendant.




PLEASE TAKE NOTE that the order or judgment titled STIPULATION TO EXTEND TIME TO RESPOND TO AMENDED
COMPLAINT.
was lodged on (date) July 31, 2023 and is attached. This order relates to the motion which is docket number 116.




1
    Please abbreviate if title cannot fit into text field.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                        UNITED STATES BANKRUPTCY COURT
 9
             CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
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12   In re                                  Case No. 8:23-bk- 10571-SC
13                                          Adv. Proc. No. 8:23-ap-01046-SC
     THE LITIGATION PRACTICE
14   GROUP, PC,                             Chapter 11
15
                     Debtor.                ORDER APPROVING STIPULATION
16                                          TO EXTEND TIME TO RESPOND TO
                                            AMENDED COMPLAINT
17 RICHARD A. MARSHACK,
   Chapter 11 Trustee,
18                                          CASE FILED: May 25, 2023
                       Plaintiff,           DEPT:
19                                          ROOM:
   v.
20                                          JUDGE: Hon. Scott C. Clarkson
   TONY DIAB, et al.,
21
                       Defendants.
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23
             The Court, having read and considered the Stipulation to Extend Time to
24
     Respond to Amended Complaint for: (1) Injunctive Relief; (2) Avoidance, Recovery,
25
     and Preservation of Two-Year Actual Fraudulent Transfers; (3) Avoidance,
26
     Recovery, and Preservation of Two year Constructive Fraudulent Transfers;
27
     (4) Avoidance, Recovery, and Preservation of Four-Year Actual Fraudulent
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                                                           ADV. PROC. NO. 8:23-AP-01046-SC
                                                           OR. STIP. EXT. RESP. AM. COMPL.
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 1   Transfers; (5) Avoidance, Recovery, and Preservation of Four-Year Constructive
 2   Fraudulent Transfers; and (6) Turnover (“Stipulation”) between Defendant Gallant
 3   Law Group, PC (“Gallant”), Plaintiff and Chapter 11 Trustee Richard A. Marshack,
 4   and Center Pointe Law, PC, filed on July 31, 2023, as Docket No. 116, and good
 5   cause appearing, hereby orders as follows:
 6   IT IS HEREBY ORDERED:
 7         1. The Stipulation is approved.
 8         2. The deadline for Gallant and/or Center Pointe to file and serve a response
 9            to Trustee’s Amended Complaint is extended from July 31, 2023 to
10            August 31, 2023.
11   IT IS SO ORDERED.
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                                                            ADV. PROC. NO. 8:23-AP-01046-SC
                                              2
                                                            OR. STIP. EXT. RESP. AM. COMPL.
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 31, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 07/31/2023                  Sophia Sanchez                                                  /s/ Sophia Sanchez
 Date                        Printed Name                                                    Signature




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Information for Case 8:23-ap-01046-SC

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
       Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
       Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
       Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
       Christopher Ghio christopher.ghio@dinsmore.com, Kristina.Heller@Dinsmore.com
       Richard H Golubow rgolubow@wghlawyers.com,
        jmartinez@wghlawyers.com;svillegas@wghlawyers.com
       Meredith King mking@fsl.law, ssanchez@fsl.law; jwilson@fsl.law
       David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
       Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
       Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
       Richard A Marshack (TR) pkraus@marshackhays.com,
        rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Queenie K Ng queenie.k.ng@usdoj.gov
       Teri T Pham tpham@epglawyers.com, ttpassistant@epglawyers.com;dle@epglawyers.com
       Douglas A Plazak dplazak@rhlaw.com
       Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
       Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
       Jonathan Serrano jonathan.serrano@dinsmore.com
       Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;howard-steinberg-
        6096@ecf.pacerpro.com
       Andrew Still astill@swlaw.com, kcollins@swlaw.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com




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